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DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      20-10343

      Boy Scouts of America




      Case Type :                       bk
      Case Number :                     20-10343
      Case Title :                      Boy Scouts of America
      Judge :                           Laurie S. Silverstein
      Courtroom :                       6th Floor Courtroom 2, Wilmington, DE
      Audio Date\Time :                 9/12/2023 10:02:37 AM
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